 Case 1:18-cr-10015-STA         Document 131       Filed 09/14/18      Page 1 of 1    PageID 190




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:18-10015-STA
                                    )
CYNTHIA STAMPS,                     )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on September 14, 2018, Assistant United States Attorney, Matt
Wilson, appearing for the Government and the defendant, Cynthia Stamps, appearing in person, and with
counsel, Janika White.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for FRIDAY, DECEMBER 7, 2018 at 11:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is to remain released on present bond.

       ENTERED this the 14th day of September, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
